                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                              EASTERN DIVISION



 UNITED STATES OF AMERICA,
                Plaintiff,                               No. CR04-1013-MWB
 vs.                                               ORDER CONCERNING
                                                MAGISTRATE’S REPORT AND
 LAMARR DREMELL PARKS,
                                               RECOMMENDATION REGARDING
                Defendant.                      DEFENDANT’S GUILTY PLEA
                                 ____________________

                       I. INTRODUCTION AND BACKGROUND
         On February 16, 2005, a superceding indictment was returned against defendant
Lamarr Dremell Parks charging him with distributing and aiding and abetting the
distribution of 18.99 grams of crack cocaine within 1000 feet of a school, in violation of
21 U.S.C. §§ 841(a)(1), 841(b)(1)(B) and 860, distributing and aiding and abetting the
distribution of 17.93 grams of crack cocaine within 1000 feet of a school, in violation of
21 U.S.C. §§ 841(a)(1), 841(b)(1)(B) and 860, and distributing and aiding and abetting the
distribution of 7.28 grams of crack cocaine within 1000 feet of a school, in violation of 21
U.S.C. §§ 841(a)(1), 841(b)(1)(B) and 860. On March 15, 2005, defendant appeared
before Chief United States Magistrate Judge John A. Jarvey and entered a plea of guilty
to Counts 1, 2 and 3 of the superceding indictment. On this same date, Judge Jarvey filed
a Report and Recommendation in which he recommends that defendant’s guilty plea be
accepted. No objections to Judge Jarvey’s Report and Recommendation were filed. The
court, therefore, undertakes the necessary review of Judge Jarvey’s recommendation to
accept defendant’s plea in this case.




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                                    II. ANALYSIS
      Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
             A judge of the court shall make a de novo determination of
             those portions of the report or specified proposed findings or
             recommendations to which objection is made. A judge of the
             court may accept, reject, or modify, in whole or in part, the
             findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
             The district judge to whom the case is assigned shall make a de
             novo determination upon the record, or after additional
             evidence, of any portion of the magistrate judge’s disposition
             to which specific written objection has been made in
             accordance with this rule. The district judge may accept,
             reject, or modify the recommended decision, receive further
             evidence, or recommit the matter to the magistrate judge with
             instructions.
FED. R. CIV. P. 72(b).
      In this case, no objections have been filed, and it appears to the court upon review
of Judge Jarvey’s findings and conclusions, that there is no ground to reject or modify
them. Therefore, the court accepts Judge Jarvey’s Report and Recommendation of March
15, 2005, and accepts defendant’s plea of guilty in this case to Counts 1, 2, and 3 of the
superceding indictment.




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  IT IS SO ORDERED.
  DATED this 20th day of May, 2005.




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